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 Fill in this information to identify the case:

 Debtor 1                  Ralph Levi Sanders, Jr.
 Debtor 2
 (Spouse, if filing)
 United States Bankruptcy Court for the:             Southern       District of          Florida
                                                                                         (State)
 Case number                                    19-24331-PDR




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                       12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 The Bank of New York Mellon, f/k/a The Bank of                   Court claim no. (if known):                       4-1
                                  New York, successor in interest to JPMorgan
                                  Chase Bank, N.A. as Trustee for Bear Stearns
                                  Asset Backed Securities Trust 2006-SD2, Asset-
                                  Backed Certificates, Series 2006-SD2 C/O
                                  Specialized Loan Servicing, LLC

Last four digits of any number you use to                                                          Date of payment change:
identify the debtor's account:                                                    9424             Must be at least 21 days after date of       12/01/2020
                                                                                                   this notice



                                                                                                   New total payment:
                                                                                                   Principal, interest, and escrow, if any $3,517.22

Part 1:                Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
    No
    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why:

                          Current escrow payment:          $1,236.52                               New escrow payment:            $1,665.70

Part 2:                Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
    rate account?
    No
    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

                         Current interest rate:                                    %               New interest rate:                               %

                         Current principal and interest payment               $                    New principal and interest payment:      $

Part 3:                Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change:
                         Current mortgage payment:              $                                   New mortgage payment:         $




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Debtor 1                                       Ralph Levi Sanders, Jr.                            Case Number (if known)            19-24331-PDR
                          First Name              Middle Name           Last Name



Part 4:      Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and t elephone number.
Check the appropriate box.

                        I am the creditor.

                       I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.


    
                                                                                    




     /s/ Matthew Tillma                                                                      Date      10/21/2020
       Signature


Print:             Matthew Tillma                                                             Title    Authorized Agent for Specialized Loan Servicing,
                    First Name            Middle Name             Last Name                            LLC



Company            Bonial & Associates, P.C.


Address            14841 Dallas Parkway, Suite 425
                   Number                Street

                   Dallas, Texas 75254
                   City                  State                   Zip Code


Contact phone              (972) 643-6600                           Email     POCInquiries@BonialPC.com




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            CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE


I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before October 21, 2020 via electronic notice unless otherwise stated.

Debtor Pro Se         Via U.S. Mail
Ralph Levi Sanders, Jr.
561 Sw 60 Ave.
Plantation, FL 33317-3947


Chapter 13 Trustee
Robin R. Weiner
PO Box 559007
Fort Lauderdale, Florida 33355


                                                      Respectfully Submitted,
                                                      /s/ Matthew Tillma




PAYMENT CHANGE NOTICE - CERTIFICATE OF SERVICE                                                           4129-N-3523
                                                                                                     PmtChgCOS_0001
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